SUPREME COURT OF THE STATE OF NEW YORE. a
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COUNTY OF QUEENS nc ETMOIY 20%

 

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DEBORAH WOODS, SUAPUOTSS py: 39
FILED Me 0325
Plaintiff, Plaintiff's Residence
255 E. 25" Street, apt 1C
against Brooklyn, NY 11226
THE CITY OF NEW YORK, PORT AUTHORITY OF The basis of venue designated is:

NEW YORK AND NEW JERSEY AND POLICE/PEACE/ Defendant(s) residence.
SECURITY OFFICER “ JOHN DOE”,

Defendant,
- “X

 

 

To the above named Defendant(s)

Bou are herelip sumuened to answer the complaint in this action, and to serve @ copy
of your answer, of if the complaint is not served with this summons, to serve a notice of
appearance on the plaintiff's attorney(s) within twenty days after the services of this summons
exclusive of the day of service, where service is made by delivery upon you personally within the
state, or within 30 days after completion of service where service is made in any other manner. In
case of your failure to appear or answer, judgment will be taken against you by default for the
relief demanded in the complaint.

DATED: New York, New York
July 29, 2015 | |
, ;

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Harmon, Linger & Rogowsky
Attorneyser Plaintiff(s)

3 Park Avenue, 23rd Floor
Suite 2300

New York, NY 10016 2

.

Defendant’s Address:

THE CITY OF NEW YORK
100 Church Street
New York, NY 10007

 

PORT AUTHORITY OF NEW YORK AND Ten
NEW JERSEY AND POLICE/PEACE/SECURITY OFFICER i
SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY GF QUEENS
x
DEBORAH WOODS,
VERIFIED COMPLAINT
Plaintht, ‘
“against —9409/ 0B

THE CITY OF NEW YORK, PORT AUTHORITY OF NEW oy
YORK AND NEW JERSEY AND POLICE/PEACE/SECURITY FILE © AUG 0 3 2015
OFFICER “JOHN DOE”

Defendants.

 

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Plaintiff, complaining of the defendants herein by her attorneys, HARMON, LINDER &
ROGOWSKY, respectfully sets forth and alleges, as follows:

AS AND FOR A FIRST CAUSE OF ACTION
ON BEHALF OF PLAINTIFE DEBORAH WOODS
1. That at the time of the commencement of this action plaintiff was a resident of the County

of Kings, City and State of New York.

2. That the cause(s} of action alleged herein arose in the County of Queens, State of New

York on August 18, 2014.

3. That at all times herein mentioned, the defendant THE CITY OF NEW YORK was and still is

a municipal corporation organized and existing under and by virtue of the laws of the

State of New York. |

4, That at all times herein mentioned, plaintiff duly served a Notice of Claim and Intention

to Sue thereupon on the defendant THE CITY OF NEW YORK on October 8, 2014 within

the time prescribed by law.

5. That defendant THE CITY OF NEW YORK has neglected and refused to make an adjustment
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in payment thereof for more than thirty (30) days after service of sald Notice of Claim and

Intention to Sue.

That the plaintiff has duly complied with all statutes anc laws applicable to the defendant
THE CITY OF NEW YORK precedent to the making of this claim and bringing this action.

That at all times herein mentioned, the defendant PORT AUTHORITY OF NEW YORK AND
NEW JERSEY was and still is a municipal corporation organized and existing under and by

virtue of the laws of the State of New York.

That at all times herein mentioned, plaintiff duly served a Notice of Claim and Intention
to Sue thereupon on the defendant PORT AUTHORITY OF NEW YORK AND NEW JERSEY
on October 8, 2014 within the time prescribed by law.

That defendant PORT AUTHORITY OF NEW YORK AND NEW JERSEY has neglected and
refused to make an adjustment in payment thereof for more than thirty (30) days after

service of said Notice of Claim and Intention ta Sue.

That the plaintiff has duly complied with all statutes and laws applicable to the defendant
PORT AUTHORITY OF NEW YORK AND NEW JERSEY precedent to the making of this claim

and bringing this action.

That at all times herein mentioned defendant, POLICE/PEACE/SECURITY OFFICER “JOHN

DOE", was and still is an individual residing in the state of New York.

That at all times herein mentioned defendant, POLICE/PEACE/SECURITY OFFICER “JOHN
DOE”, was and still is an employee, servant and or agent of the defendant THE CITY OF ©
NEW YORK and acting as an individual and in his capacity as the employee, agent and or

servant of the defendant THE CITY OF NEW YORK.
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That at all times herein mentioned, defendant POLICE/PEACE/SECURITY OFFICER "JOHN
DOE”, was acting within the course and scope of his authority as an employee agent and

or servant of the defendant THE CITY OF NEW YORK

That at all times herein mentioned, the hiring of employees agents and or servants for

the defendant, THE CITY OF NEW YORK, was under its control.

That at all times herein mentioned defendant, POLICE/PEACE/SECURITY OFFICER “JOHN
DOE”, was and still is an employee, servant and or agent of the defendant PORT
AUTHORITY OF NEW YORK AND NEW JERSEY and acting as an individual and in his capacity

as the employee, agent and or servant of the defendant PORT AUTHORITY OF NEW YORK
AND NEW JERSEY.

That at all times herein mentioned, defendant POLICE/PEACE/SECURITY OFFICER “JOHN
DOE", was acting within the course and scope of his authority as an employee agent and

or servant of the defendant PORT AUTHORITY OF NEW YORK AND NEW JERSEY.

That at all times herein mentioned, the hiring of employees agents and or servants for

the defendant, PORT AUTHORITY OF NEW YORK AND NEW JERSEY, was under its control.

That on the 18" day of August 2014, at approximately 9:50 p.m. the defendant THE CITY
OF NEW YORK, PORT AUTHORITY OF NEW YORK AND NEW JERSEY, by its servants, agents,
or employees namely the defendant, POLICE/PEACE/SECURITY OFFICER “JOHN DOE”,
without notice justification and provocation, brutally, recklessly, wantonly, negligently,
maliciously and willfully assaulted and battered, subjected to unjustified, unnecessary

and unwarranted excessive force of the plaintiff DEBORAH WOODS.

That as a direct consequence and result of the acts of the defendants THE CITY OF NEW
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YORK, PORT AUTHORITY OF NEW YORK AND NEW JERSEY and by their servants, agents
and or employees POLICE/PEACE/SECURITY OFFICER “JOHN DOE”, herein above
complained of the plaintiff was brutally battered and assaulted and thereby caused to

sustain serious and severe injuries including fright and shock.

That as a result of the foregoing, the plaintiff was caused to and did sustain severe and
serious injuries and was required to seek and obtain medical care and attention in an

effort to cure and alleviate same and, upon information and belief will be compelled to

do so in the future.

That as a result of the foregoing, the plaintiff seeks damages, in the sum of one million
dollars ($1,000,000.00) DOLLARS as compensatory damages. Because of the outrageous
nature of defendant's conduct and the resulting stigmatization of the plaintiff as a

criminal, punitive damages should be assessed against the defendants.

AS AND FOR A SECOND CAUSE OF ACTION
ON BEHALF OF PLAINTIFF DEBORAH WOODS

Plaintiff repeats and realleges each and every allegation contained in the First Cause of

Action as of the same were more fully herein after set forth at length.

That the defendants did intentionally, maliciously, wantonly and recklessly cause plaintiff

to fear immediate harm from their actions.

That the defendants’ aggressive and offensive conduct was done deliberately to narm the

plaintiff.

That as a result of the aforesaid conduct, plaintiff suffered injuries, including but not
limited to lacerations, bruises, sprains and strains and other physical injuries causing pain

and suffering.
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That as a further result of defendants conduct, plaintiff suffered fright, shack, humiliation,

outrage and other mental injuries.

That because the defendants conduct was malicious, aggressive, wanton, reckless and

outrageous, punitive damages should be assessed against them.

That as a result of the foregoing, the plaintiff was caused to and did sustain severe and
serious injuries and was required to seek and obtain medical care and attention in an
effort to cure and alleviate same and, upon information and belief will be compelled to

do so in the future.

That as a result of the foregoing, the plaintiff seeks damages, in the sum of one million
dollars ($1,000,000.00) DOLLARS together with costs and interest.

AS AND FOR A THIRD CAUSE OF ACTION
ON BEHALF OF PLAINTIFF DEBORAH WOODS

Plaintiff repeats and realleges each and every allegation contained in paragraphs “1

through 30", inclusive with the same were fully herein after set forth at length.

That the defendants conduct as earlier described was negligent, careless, willful, and or

oppressive in inter alia:

{a} Failing to take proper precautions for the safety and well being of the plaintiff;

(b) That the defendant and THE CITY OF NEW YORK, PORT AUTHORITY OF NEW YORK

AND NEW JERSEY, were negligent in the hiring, screening, training and supervising

of its employees and in having or contracting for provision of inadequate and or
dangerous personnel, in particular POLICE/PEACE/SECURITY OFFICER “JOHN
DOE”, set forth in the complaint.

(c) Failing to adopt appropriate procedures for the protection of customers and

Patrons;
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(d)} Allowing its personnel to use excessive force;

(e) Negligence at law

That the defendant, THE CITY OF NEW YORK, PORT AUTHORITY OF NEW YORK AND NEW

JERSEY, should have known that its failure in such regards would cause harm.

That the defendant, POLICE/PEACE/SECURITY OFFICER “JOHN DOE”, should have known
that its failure in such regards would cause harm. That as a result of the foregoing, the
plaintiff was caused to and did sustain severe and serious injuries and was required to
seek and obtain medical care and attention in an effort to cure and alleviate same and,

upon information and belief will be compelied to do so in the future.

That as a result of the foregoing, the plaintiff seeks damages, in the sum of one million

dollars ($4,000,000.00) DOLLARS together with costs and interest.

AS AND FOR A FOURTH OF ACTION
ON BEHALF OF PLAINTIFF DEBORAH WOODS

This plaintiff repeats, reiterates and realleges each and every allegation contained in
paragraphs of this complaint numbered "1" through " 36", inclusive with the same force

and effect as though the same were more fully set forth at length herein.

That the defendants THE CITY OF NEW YORK, PORT AUTHORITY OF NEW YORK AND NEW
JERSEY and POLICE/PEACE/SECURITY OFFICER “JOHN DOE”, did intentionally, maliciously,
wantonly and recklessly heid and detained plaintiff for a period of two weeks causing him

to fear immediate harm from their actions.

That defendants did violate plaintiff's Civil Rights and constitutional guarantees and Bill
of Rights of the plaintiff under color of authority including but not limited to deprivation

of life and liberties, the right to security of person and freedom from arrest, assault, and
battery, the right to be informed to the true nature and.cause of accusation against his

right to equal protection.

40. That as a result of the defendants actions and aforesaid conduct, plaintiff was deprived

of her life and liberty on the 18" day of August 2014.

41. That as a further result of the aforesaid conduct, plaintiff suffered injuries, including but
not limited to a stroke, bruises, sprains and strains and other physical injuries causing pain

and suffering.

42. That as a further result of defendants conduct, plaintiff suffered fright, shock, humiliation,

outrage and other mental injuries.

43. That because the defendants conduct was malicious, aggressive, wanton, reckless and

outrageous, punitive damages should be assessed against them.

4a. That as a result of the foregoing, the plaintiff was caused to and did sustain severe and
serious injuries and was required to seek and obtain medical care and attention in an
effort to cure and alleviate same and, upon information and belief will be compelled to

do so in the future.

45. That as a result of the foregoing, the plaintiff seeks damages, in the sum of one million

dollars ($1,000,000.00) DOLLARS together with costs and interest.

 

WHEREFORE, plaintiff, demands judgment against the defendants on the First cause of
action in the sum of ONE MILLION DOLLARS (51,000,000.00) together with costs and interest
according to law, and in the second cause of action in the of ONE MILLION DOLLARS
($1,000,000.00) together with costs and interest according to law and in the third cause of action

in the sum of ONE MILLION DOLLARS ($1,000,000.00) together with costs and interest according
_ Case 1:15-cv-05167-SJ-MDG Document1-1 Filed 09/04/15 Page 9 of 11 PagelD #: 12

to law and in the fourth cause of action in the of ONE MILLION DOLLARS {$1,000,000.00) together

with costs and interest according to law, all togethep’with costs and interest according to law.

 

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Yours, ete.
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HARM whe LINDER
Attorney#
3 Park Avenue ~ Suite 2300
New York, New York 10016
{212} 732-3665

  
_Case 1:15-cv-05167-SJ-MDG Documenti1-1 Filed 09/04/15 Page 10 of 11 PagelD #: 13

ATTORNEY'S VERIFICATION

STATE OF NEW YORK)
COUNTY OF NEW YORK) ss

L, the undersigned, am an attorney admitted to practice in the Courts of New York State,
and say that:

I am the attorney of record or of counsel with the attorney(s) of record for plaintiff.

L have read the annexed SUMMONS AND VERIFIED COMPLAINT and know the
contents thereof and the same are true to my knowledge, except those matters therein which are
stated to be alleged on information and belief. As to those matters, I believe them to be true.
My belief, as to those matters therein not stated upon knowledge is based upon the following:
Interviews and/or discussions with the plaintiff(s) and papers and/or documents in the file.

The reasons I make this affirmation instead of the plaintiff is because said plaintiff
resides outside of the county from where your deponent maintains his office for the practice of

law.

Dated: _ New York, New York

July 29, 2015 /

Ne
Mark J. cir Esq.,

Sona
Case 1:15-cv-05167-SJ-MDG Documenti-1 Filed 09/04/15

Index No. Year
SUPREME COURT OF THE STATE OF NEW YORIC
COUNTY OF QUEENS

DEBORAH WOODS,

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Plaintiff,
-against-

THE CITY OF NEW YORK, PORT AUTHORITY OF
NEW YORK AND NEW JERSEY AND POLICE/PEACE/
SECURITY OFFICER “ JOHN DOE”,

Defendant.

 

 

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HARMON, LINDER & ROGOSWKY, ESQS.
Attorney for Plaintiff(s)
3 Park Avenue, 23rd Fleor
Suite 2300
New York, NY 10016
(212) 732-3665 Phone
(212) 732-1462 Facsimile

To:
Attorney(s) for Defendant

Service of a copy of the within Summons and Complaint is hereby admitted.
Dated:

Attorney(s) for

 

 

 

PLEASE TAKE NOTICE.
[[] Notice of Entry that the within is a (certified) true copy ofa
entered in the office of the clerk of the within named Court on

 

 

["] Notice of Settlement
that an order of which the within is a true copy will be presented for settlement to the
Hon. , one of the judges of the within named Court, at '
on

Dated: July 29, 2015

Yours, etc.

Harmon, Linder & Rogowsky
Attorneys for Plaintiff

3 Park Avenue, 23rd Floor
Suite 2300

New York, NY 10016

(212) 732-3665

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